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                                   P.O. Box 235052. Honolulu, HI 96823
                             tel: (808) 600-4749 email: office@caballero.law



                                                                   February 28, 2022

 VIA ELECTRONIC MAIL

 Hon. Kenneth J. Mansfield
 Magistrate Judge
 United States District Court
 District of Hawaii
 300 Ala Moana Blvd C-338
 Honolulu, HI 96850
 bbb@hid.uscourts.gov

 Re:   Taylor v. City and County of Honolulu et al., Case No. 22-cv-00013-HG-KJM
       Request for 60-Day Continuance of Rule 16 Scheduling Conference

 Dear Judge Mansfield,

        Counsel for Plaintiffs, Defendant City and County of Honolulu, and
 Defendant Hawaiʻi State Department of Education in the above-captioned matter
 jointly request a 60-day continuance of the Rule 16 scheduling conference currently
 set for March 7, 2022, at 9:30am.

         The parties respectfully request the continuance for Plaintiffs to serve the
 complaint on the remaining individual defendants, the individual defendants to
 request representation from their respective government employers, and the City
 and County of Honolulu and State of Hawaiʻi to consider such requests. This is the
 first request for a continuance of the Rule 16 Scheduling Conference.

       If you have any questions please do not hesitate to contact me at (808) 600-
 4749 or mateo@caballero.law.

                                                        Sincerely,



                                                        Mateo Caballero
